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     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA
10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-206-JAK

13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             TREVON MAURICE FRANKLIN
14                   v.

15   TREVON MAURICE FRANKLIN,
       aka “Tre-Von M. King,”
16
               Defendant.
17

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19        1.   This constitutes the plea agreement between TREVON MAURICE

20   FRANKLIN (“defendant”) and the United States Attorney’s Office for

21   the Central District of California (the “USAO”) in the above-

22   captioned case.      This agreement is limited to the USAO and cannot

23   bind any other federal, state, local, or foreign prosecuting,

24   enforcement, administrative, or regulatory authorities.

25                              DEFENDANT’S OBLIGATIONS

26        2.   Defendant agrees to:

27             a.    Give up the right to indictment by a grand jury, and

28   at the earliest opportunity requested by the USAO and provided by the
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1    Court, appear and plead guilty to the sole count of the superseding

2    information in United States v. Trevon Maurice Franklin, CR No. 17-

3    206-JAK, in the form attached to this agreement as Exhibit A or a

4    substantially similar form, which charges defendant with Criminal

5    Infringement of a Copyright, in violation of 17 U.S.C.

6    § 506(a)(1)(B), 18 U.S.C. §§ 2319(a), (c)(3), a Class A misdemeanor.

7              b.    Not contest facts agreed to in this agreement.

8              c.    Abide by all agreements regarding sentencing contained

9    in this agreement.
10             d.    Appear for all court appearances, surrender as ordered

11   for service of sentence, obey all conditions of any bond, and obey

12   any other ongoing court order in this matter.

13             e.    Not commit any crime; however, offenses that would be

14   excluded for sentencing purposes under United States Sentencing

15   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

16   within the scope of this agreement.

17             f.    Be truthful at all times with Pretrial Services, the

18   United States Probation Office, and the Court.

19             g.    Pay the applicable special assessment at or before the
20   time of sentencing unless defendant lacks the ability to pay and

21   prior to sentencing submits a completed financial statement on a form

22   to be provided by the USAO.

23             h.    Agree to and not oppose the imposition of the

24   following conditions of probation or supervised release:

25                   i.    Defendant shall possess and use only those

26   Digital Devices and Internet Accounts that have been disclosed to,
27   and approved by, the Probation Office upon commencement of

28   supervision.   Any changes or additions to Digital Devices or Internet

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1    Accounts are to be disclosed to, and approved by, the Probation

2    Officer prior to the first use of same.        Disclosure shall include

3    both user names and passwords for all Digital Devices and Internet

4    Accounts.   Digital Devices include, but are not limited to, personal

5    computers, tablet computers such as iPads, mobile/cellular

6    telephones, personal data assistants, digital storage media, devices

7    or media which provide access to electronic games, devices that can

8    access or can be modified to access the Internet, as well as any of

9    their peripheral equipment.      Internet Accounts include, but are not
10   limited to, email accounts, social media accounts, electronic

11   bulletin boards, or other accounts on the Internet.

12                   ii.   After the Probation Officer has given defendant

13   approval to use a particular Digital Device or Internet Account,

14   defendant need not notify the Probation Officer about subsequent use

15   of that particular Digital Device or Internet Account.           Defendant

16   shall, however, notify his Probation Officer of any additions to,

17   removals from, or other modifications of the hardware or software on

18   any Digital Device or Internet Account that defendant causes to

19   occur, within one week of that addition, removal or modification.
20   The defendant shall not hide or encrypt files or data without

21   specific prior approval from the Probation Officer.

22                   iii. Defendant shall provide the Probation Officer

23   with all billing records for any service or good relating to any

24   Digital Device or Internet Account, including those for cellular

25   telephone, cable, Internet and satellite services, as requested by

26   the Probation Officer, so that the Probation Officer can verify
27   compliance with these requirements.

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1                    iv.   Defendant shall comply with the rules and

2    regulations of the Computer Monitoring Program.         Defendant shall pay

3    the cost of the Computer Monitoring Program, in an amount not exceed

4    $32 per month per device connected to the internet.

5                               THE USAO’S OBLIGATIONS

6         3.    The USAO agrees to:

7               a.   Not contest facts agreed to in this agreement.

8               b.   Abide by all agreements regarding sentencing contained

9    in this agreement.
10              c.   At the time of sentencing, move to dismiss the

11   indictment filed against defendant in United States v. Trevon Maurice

12   Frankin, CR No. 17-206-JAK, on April 11, 2017, in the Central

13   District of California.     Defendant agrees, however, that at the time

14   of sentencing the Court may consider any dismissed charges in

15   determining the applicable Sentencing Guidelines range, the propriety

16   and extent of any departure from that range, and the sentence to be

17   imposed.

18              d.   At the time of sentencing, provided that defendant

19   demonstrates an acceptance of responsibility for the offense up to
20   and including the time of sentencing, recommend a two-level reduction

21   in the applicable Sentencing Guidelines offense level, pursuant to

22   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

23   additional one-level reduction if available under that section.

24                              NATURE OF THE OFFENSE

25        4.    Defendant understands that for defendant to be guilty of a

26   violation of 17 U.S.C. § 506(a)(1)(B), 18 U.S.C. §§ 2319(a), (c)(3),
27   a Class A misdemeanor, the following must be true: (a) there was a

28   copyright; (b) defendant infringed that copyright by reproduction or

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1    distribution of one or more copies or phonorecords of the copyrighted

2    work within a 180-day period; (c) the total retail value of the

3    copyrighted work was more than $1,000; and (d) defendant acted

4    willfully.

5                                      PENALTIES

6         5.   Defendant understands that the statutory maximum sentence

7    that the Court can impose for a violation of 17 U.S.C.

8    § 506(a)(1)(B), 18 U.S.C. §§ 2319(a), (c)(3), a class A misdemeanor,

9    is: one year imprisonment followed by a one-year period of supervised
10   release, or five years probation; a fine of $100,000; and a mandatory

11   special assessment of $100.

12        6.   Defendant understands that supervised release is a period

13   of time following imprisonment during which defendant will be subject

14   to various restrictions and requirements.        Defendant understands that

15   if defendant violates one or more of the conditions of any supervised

16   release imposed, defendant may be returned to prison for all or part

17   of the term of supervised release authorized by statute for the

18   offense that resulted in the term of supervised release, which could

19   result in defendant serving a total term of imprisonment greater than
20   the statutory maximum stated above.

21        7.   Defendant understands that the conviction in this case may

22   also subject defendant to various other collateral consequences,

23   including but not limited to revocation of probation, parole, or

24   supervised release in another case and suspension or revocation of a

25   professional license.     Defendant understands that unanticipated

26   collateral consequences will not serve as grounds to withdraw
27   defendant’s guilty plea.

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1                                    FACTUAL BASIS

2         8.    Defendant admits that defendant is, in fact, guilty of the

3    offense to which defendant is agreeing to plead guilty.           Defendant

4    and the USAO agree to the statement of facts provided below and agree

5    that this statement of facts is sufficient to support a plea of

6    guilty to the charge described in this agreement and to establish the

7    Sentencing Guidelines factors set forth in paragraph 100 below but is

8    not meant to be a complete recitation of all facts relevant to the

9    underlying criminal conduct or all facts known to either party that
10   relate to that conduct.

11        Between on or about February 20, 2016 and February 22,

12   2016, defendant willfully infringed the copyright of the motion

13   picture Deadpool by reproducing and distributing more than one

14   copy of that copyrighted work, which had a total retail value of

15   at least $1,000.

16        Specifically, at some point before February 20, 2016, defendant

17   downloaded from the website www.putlocker.is an unauthorized copy of

18   the movie Deadpool, which defendant knew he was not authorized to

19   obtain.    On February 20, 2016, using the moniker Tre-Von M. King,
20   defendant uploaded the unauthorized copy of Deadpool to his Facebook

21   account.   Between February 20 and 22, 2016, while Deadpool was still

22   in theaters and had not yet been made available for purchase by the

23   public for home viewing, the copy of Deadpool defendant posted to his

24   Facebook page had been viewed over 6,386,456 times.

25        Defendant willfully infringed the copyright held by others when

26   he, without the authorization of the copyright holder, Twentieth
27   Century Fox Film Corporation (“Fox”), distributed and reproduced

28   Deadpool by uploading it to Facebook.

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1         The total retail value of Deadpool exceeded $1,000, as the

2    infringement amount totaled more than $1,000 (based on a calculation

3    of the percentage of viewers who would have paid for a ticket to see

4    Deadpool in theaters but did not as a result of defendant’s actions,

5    multiplied by the average ticket price).

6                                 SENTENCING FACTORS

7         9.    Defendant understands that in determining defendant’s

8    sentence the Court is required to calculate the applicable Sentencing

9    Guidelines range and to consider that range, possible departures
10   under the Sentencing Guidelines, and the other sentencing factors set

11   forth in 18 U.S.C. § 3553(a).      Defendant understands that the

12   Sentencing Guidelines are advisory only, that defendant cannot have

13   any expectation of receiving a sentence within the calculated

14   Sentencing Guidelines range, and that after considering the

15   Sentencing Guidelines and the other § 3553(a) factors, the Court will

16   be free to exercise its discretion to impose any sentence it finds

17   appropriate up to the maximum set by statute for the crime of

18   conviction.

19        10.   Defendant and the USAO agree to the following applicable
20   Sentencing Guidelines factors:

21        Base offense Level:                  8         [U.S.S.G. § 2B5.3(a)]

22        Uploading:                          +2         [U.S.S.G. § 2B5.3(b)(3)]
23        No Financial Gain                   -2         [U.S.S.G. § 2B5.3(b)(4)]
24

25   Defendant and the USAO reserve the right to argue that additional

26   specific offense characteristics, adjustments, and departures under

27   the Sentencing Guidelines are appropriate.

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1         11.   Defendant understands that there is no agreement as to

2    defendant’s criminal history or criminal history category.

3         12.   Defendant and the USAO reserve the right to argue for a

4    sentence outside the sentencing range established by the Sentencing

5    Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

6    (a)(2), (a)(3), (a)(6), and (a)(7).

7                         WAIVER OF CONSTITUTIONAL RIGHTS

8         13.   Defendant understands that by pleading guilty, defendant

9    gives up the following rights:
10              a.   The right to persist in a plea of not guilty.

11              b.   The right to a speedy and public trial by jury.

12              c.   The right to be represented by counsel –- and if

13   necessary have the court appoint counsel -- at trial.           Defendant

14   understands, however, that, defendant retains the right to be

15   represented by counsel –- and if necessary have the court appoint

16   counsel –- at every other stage of the proceeding.

17              d.   The right to be presumed innocent and to have the

18   burden of proof placed on the government to prove defendant guilty

19   beyond a reasonable doubt.
20              e.   The right to confront and cross-examine witnesses

21   against defendant.

22              f.   The right to testify and to present evidence in

23   opposition to the charges, including the right to compel the

24   attendance of witnesses to testify.

25              g.   The right not to be compelled to testify, and, if

26   defendant chose not to testify or present evidence, to have that
27   choice not be used against defendant.

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1               h.    Any and all rights to pursue any affirmative defenses,

2    Fourth Amendment or Fifth Amendment claims, and other pretrial

3    motions that have been filed or could be filed.

4                         WAIVER OF RETURN OF DIGITAL DATA

5         14.   Understanding that the government has in its possession

6    digital devices and/or digital media seized from defendant, defendant

7    waives any right to the return of digital data contained on those

8    digital devices and/or digital media and agrees that if any of these

9    digital devices and/or digital media are returned to defendant, the
10   government may delete all digital data from those digital devices

11   and/or digital media before they are returned to defendant.

12                         WAIVER OF APPEAL OF CONVICTION

13        15.   Defendant understands that, with the exception of an appeal

14   based on a claim that defendant’s guilty plea was involuntary, by

15   pleading guilty defendant is waiving and giving up any right to

16   appeal defendant’s conviction on the offense to which defendant is

17   pleading guilty.

18                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

19        16.   Defendant gives up the right to appeal all of the
20   following: (a) the procedures and calculations used to determine and

21   impose any portion of the sentence; (b) the term of imprisonment

22   imposed by the Court, provided it is within the statutory maximum;

23   (c) the fine imposed by the court, provided it is within the

24   statutory maximum; (d) the term of probation or supervised release

25   imposed by the Court, provided it is within the statutory maximum;

26   and (e) any of the following conditions of probation or supervised
27   release imposed by the Court: the conditions set forth in General

28   Orders 318, 01-05, and/or 05-02 of this Court; the drug testing

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1    conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and any

2    conditions of probation or supervised release agreed to by defendant

3    in paragraph 2 above, including the computer crime conditions listed

4    in paragraph 2.h above.

5         17.   The USAO agrees that, provided (a) all portions of the

6    sentence are at or below the statutory maximum specified above and

7    (b) the Court imposes a term of imprisonment of no less than two

8    months’ imprisonment, the USAO gives up its right to appeal any

9    portion of the sentence.
10                       RESULT OF WITHDRAWAL OF GUILTY PLEA

11        18.   Defendant agrees that if, after entering a guilty plea

12   pursuant to this agreement, defendant seeks to withdraw and succeeds

13   in withdrawing defendant’s guilty plea on any basis other than a

14   claim and finding that entry into this plea agreement was

15   involuntary, then (a) the USAO will be relieved of all of its

16   obligations under this agreement; and (b) should the USAO choose to

17   pursue any charge that was either dismissed or not filed as a result

18   of this agreement, then (i) any applicable statute of limitations

19   will be tolled between the date of defendant’s signing of this
20   agreement and the filing commencing any such action; and

21   (ii) defendant waives and gives up all defenses based on the statute

22   of limitations, any claim of pre-indictment delay, or any speedy

23   trial claim with respect to any such action, except to the extent

24   that such defenses existed as of the date of defendant’s signing this

25   agreement.

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1                     RESULT OF VACATUR, REVERSAL OR SET-ASIDE

2         19.   Defendant agrees that if the count of conviction is

3    vacated, reversed, or set aside, both the USAO and defendant will be

4    released from all their obligations under this agreement.

5                            EFFECTIVE DATE OF AGREEMENT

6         20.   This agreement is effective upon signature and execution of

7    all required certifications by defendant, defendant’s counsel, and an

8    Assistant United States Attorney.

9                                 BREACH OF AGREEMENT
10        21.   Defendant agrees that if defendant, at any time after the

11   signature of this agreement and execution of all required

12   certifications by defendant, defendant’s counsel, and an Assistant

13   United States Attorney, knowingly violates or fails to perform any of

14   defendant’s obligations under this agreement (“a breach”), the USAO

15   may declare this agreement breached.        All of defendant’s obligations

16   are material, a single breach of this agreement is sufficient for the

17   USAO to declare a breach, and defendant shall not be deemed to have

18   cured a breach without the express agreement of the USAO in writing.

19   If the USAO declares this agreement breached, and the Court finds
20   such a breach to have occurred, then: (a) if defendant has previously

21   entered a guilty plea pursuant to this agreement, defendant will not

22   be able to withdraw the guilty plea, and (b) the USAO will be

23   relieved of all its obligations under this agreement.

24        22.   Following the Court’s finding of a knowing breach of this

25   agreement by defendant, should the USAO choose to pursue any charge

26   that was either dismissed or not filed as a result of this agreement,
27   then:

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1               a.    Defendant agrees that any applicable statute of

2    limitations is tolled between the date of defendant’s signing of this

3    agreement and the filing commencing any such action.

4               b.    Defendant waives and gives up all defenses based on

5    the statute of limitations, any claim of pre-indictment delay, or any

6    speedy trial claim with respect to any such action, except to the

7    extent that such defenses existed as of the date of defendant’s

8    signing this agreement.

9               c.    Defendant agrees that: (i) any statements made by
10   defendant, under oath, at the guilty plea hearing (if such a hearing

11   occurred prior to the breach); (ii) the agreed to factual basis

12   statement in this agreement; and (iii) any evidence derived from such

13   statements, shall be admissible against defendant in any such action

14   against defendant, and defendant waives and gives up any claim under

15   the United States Constitution, any statute, Rule 410 of the Federal

16   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

17   Procedure, or any other federal rule, that the statements or any

18   evidence derived from the statements should be suppressed or are

19   inadmissible.
20                     COURT AND PROBATION OFFICE NOT PARTIES

21        23.   Defendant understands that the Court and the United States

22   Probation Office are not parties to this agreement and need not

23   accept any of the USAO’s sentencing recommendations or the parties’

24   agreements to facts or sentencing factors.

25        24.   Defendant understands that both defendant and the USAO are

26   free to: (a) supplement the facts by supplying relevant information
27   to the United States Probation Office and the Court, (b) correct any

28   and all factual misstatements relating to the Court’s Sentencing

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1    Guidelines calculations and determination of sentence, and (c) argue

2    on appeal and collateral review that the Court’s Sentencing

3    Guidelines calculations and the sentence it chooses to impose are not

4    error, although each party agrees to maintain its view that the

5    calculations in paragraph 10 are consistent with the facts of this

6    case.   While this paragraph permits both the USAO and defendant to

7    submit full and complete factual information to the United States

8    Probation Office and the Court, even if that factual information may

9    be viewed as inconsistent with the facts agreed to in this agreement,
10   this paragraph does not affect defendant’s and the USAO’s obligations

11   not to contest the facts agreed to in this agreement.

12        25.   Defendant understands that even if the Court ignores any

13   sentencing recommendation, finds facts or reaches conclusions

14   different from those agreed to, and/or imposes any sentence up to the

15   maximum established by statute, defendant cannot, for that reason,

16   withdraw defendant’s guilty plea, and defendant will remain bound to

17   fulfill all defendant’s obligations under this agreement.            Defendant

18   understands that no one –- not the prosecutor, defendant’s attorney,

19   or the Court –- can make a binding prediction or promise regarding
20   the sentence defendant will receive, except that it will be within

21   the statutory maximum.

22                             NO ADDITIONAL AGREEMENTS

23        26.   Defendant understands that, except as set forth herein,

24   there are no promises, understandings, or agreements between the USAO

25   and defendant or defendant’s attorney, and that no additional

26   promise, understanding, or agreement may be entered into unless in a
27   writing signed by all parties or on the record in court.

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                              EXHIBIT A
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8                            UNITED STATES DISTRICT COURT

9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                CR No. 17-206-JAK

11             Plaintiff,                     F I R S T
                                              S U P E R S E D I N G
12             v.                             I N F O R M A T I O N

13   TREVON MAURICE FRANKLIN,                 [17 U.S.C. § 506(a)(1)(B) and 18
       aka “Tre-Von M. King,”                 U.S.C. § 2319(a), (c)(3): Criminal
14                                            Infringement of a Copyright]
               Defendant.
15

16        The United States Attorney charges:
17         [17 U.S.C. § 506(a)(1)(B) and 18 U.S.C. § 2319(a), (c)(3)]
18        Between on or about February 20, 2016 and February 22, 2016, in
19   Los Angeles County, within the Central District of California, and
20   elsewhere, defendant TREVON MAURICE FRANKLIN, also known as “Tre-Von
21   M. King,” did willfully infringe the copyright of a copyrighted work,
22   namely the motion picture Deadpool, by the reproduction and
23   distribution, including by electronic means, during a 180-day period,
24   //
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1    of at least one copy and phonorecord of Deadpool, which had a total

2    retail value of at least $1,000.

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4                                           NICOLA T. HANNA
                                            United States Attorney
5

6

7                                           PATRICK R. FITZGERALD
                                            Assistant United States Attorney
8                                           Chief, National Security Division
9                                           RYAN D. WHITE
                                            Assistant United States Attorney
10                                          Chief, Cyber & Intellectual
                                            Property Crimes Section
11
                                            ELLEN E. LANSDEN
12                                          Assistant United States Attorney
                                            Cyber & Intellectual Property
13                                          Crimes Section
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